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                   In the United States District Court for the
                        Middle District of Pennsylvania

PACE-O-MATIC, INC.                       )
                                         )
                          Plaintiff,     ) [ELECTRONICALLY FILED]
                                         )
vs.                                      ) Docket No. 20-292
                                         )
ECKERT, SEAMANS, CHERIN &                ) JUDGE WILSON
MELLOT, LLC                              )
                                         )
                          Defendant.     )


                             NOTICE OF APPEAL

      Notice is hereby given that Hawke McKeon & Sniscak, LLP appeals to the

United States Court of Appeals for the Third Circuit from the order and opinion,

entered July 5, 2022 in the above-captioned matter (Docs. 222-223).

                                           Respectfully submitted,

                                            /s/ Dennis A. Whitaker
                                            Dennis A. Whitaker, I.D. #53975
                                            Melissa A. Chapaska, I.D. #319449
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                                            Counsel for Hawke McKeon &
                                            Sniscak, LLP
Dated: August 4, 2022
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                         CERTIFICATE OF SERVICE
      I hereby certify that, on August 4, 2022, I electronically filed the foregoing

document with the Clerk of the Court for the United States Court District Court

for the Middle District of Pennsylvania by using the ECF system. Pursuant to LR

5.7, participants in the case who are registered ECF users will be served by the

ECF system.

                                              /s/ Dennis A. Whitaker




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